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                                         [FORM OF NOTICE OF BAR DATE]


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

-----------------------------------------------------x
                                                               Chapter 11
In re:

                                                               Case No.: __-____(___)



                                 Debtor.
-----------------------------------------------------x


           NOTICE OF DEADLINE REQUIRING FILING OF PROOFS OF
           CLAIM ON OR BEFORE _______________________


TO ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST [NAME OF DEBTOR]

           The United States Bankruptcy Court for the Eastern District of New York has entered an

Order establishing [set forth date in bold] (the “Bar Date”) as the last date for each person or

entity (including individuals, partnerships, corporations, joint ventures, trusts and governmental

units) to file a proof of claim against [Name of Debtor] (the “Debtor”).

           The Bar Date and the procedures set forth below for filing proofs of claim apply to all

claims against the Debtor that arose prior to ________________ (the “Filing Date”), the date on

which the Debtor commenced a case under chapter 11 of 11 U.S.C. §§ 101 et seq. (the

“Bankruptcy Code”), except for those holders of the claims listed in Section 4 below that are

specifically excluded from the Bar Date filing requirement.
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1.     WHO MUST FILE A PROOF OF CLAIM

       You MUST file a proof of claim to vote on a Chapter 11 plan filed by the Debtor or to

share in distributions from the Debtor’s bankruptcy estate if you have a claim that arose prior to

the Filing Date, and it is not one of the types of claim described in Section 4 below. Claims

based on acts or omissions of the Debtor that occurred before the Filing Date must be filed on or

prior to the Bar Date, even if such claims are not now fixed, liquidated or certain or did not

mature or become fixed, liquidated or certain before the Filing Date.

       Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word

“claim” means: (a) a right to payment, whether or not such right is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance

if such breach gives rise to a right to payment, whether or not such right to an equitable remedy is

reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or

unsecured.

2.     WHAT TO FILE

       Your filed proof of claim must conform substantially to Official Form No. 410, a copy of

which is annexed to this Notice. Additional proof of claim forms may be obtained at

www.uscourts.gov/bkforms.

       The proof of claim form must be signed by the claimant or, if the claimant is not an

individual, by an authorized agent of the claimant. It must be written in English and be

denominated in United States currency. You must attach to your completed proof of claim any

documents on which the claim is based (if voluminous, attach a summary).


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        [Any holder of a claim against more than one Debtor must file a separate proof of claim

with respect to each Debtor, and all holders of claims must identify on their proof of claim the

specific Debtor against which their claim is asserted and the case number of that Debtor’s

bankruptcy case. A list of the names of the Debtors and their case numbers is [set forth in the

case caption above] [attached to this Notice].]

        Your proof of claim form shall not contain complete social security numbers or taxpayer

identification numbers (only the last four digits), a complete birth date (only the year), the name

of a minor (only the minor’s initials) or a financial account number (only the last four digits of

such financial account).

3.      WHEN AND WHERE TO FILE

[(A) Cases Without Claims Agents - Insert the following as Paragraph 3:] 1

        Except as provided for herein, all proofs of claim must be filed so as to be received on or

before ___________________.

        Attorneys (with full access accounts) and employees of institutional creditors (with

limited access accounts) shall file proofs of claim electronically on the Court’s Case

Management/Electronic Case File (“CM/ECF”) system. Those without accounts to the CM/ECF

system shall file their proofs of claim by mailing or delivering the original proof of claim to the

Court at the address provided below:

        [United States Bankruptcy Court
        Eastern District of New York
        Conrad B. Duberstein U.S. Bankruptcy Courthouse
        271 Cadman Plaza East, Suite 1595
        Brooklyn, NY 11201-1800]

1
 Choose either subparagraph A or subparagraph B. If you have questions regarding the applicability of a claims
agent to your case, please contact the Clerk’s Office.

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            [United States Bankruptcy Court
           Eastern District of New York
           Alfonse M. D’Amato U.S. Courthouse
           290 Federal Plaza
           Central Islip, NY 11722]

           A proof of claim will be deemed timely filed only when received by the Bankruptcy

Court on or before the Bar Date. A proof of claim may not be delivered by facsimile, telecopy or

electronic mail transmission.

           [Governmental units may have until ___________, the date that is 180 days after the

order for relief, to file proofs of claim.] 2

[(B) Cases with Claims Agents - Insert the following as Paragraph 3:]

           Except as provided for herein, all proofs of claim must be filed so as to be received on or

before ___________________ at the following address:

[Insert address provided by claims agent]                 IF DELIVERED BY HAND:
agent]
                                                        United States Bankruptcy Court
                                                        Eastern District of New York
                                                        Conrad B. Duberstein U.S.
                                                  Bankruptcy Courthouse
                                                        271 Cadman Plaza East, Suite 1595
                                                        Brooklyn, NY 11201-1800


                                                                  or

                                                          United States Bankruptcy Court
                                                          Eastern District of New York
                                                          Alfonse M. D’Amato U.S. Courthouse
                                                          290 Federal Plaza
                                                          Central Islip, NY 11722




2
    See footnote 1, above.

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Proofs of claim will be deemed filed only when received at the address listed herein on or before the

Bar Date. Proofs of claim may not be delivered by facsimile, telecopy or electronic mail

transmission.

           [Governmental units may have until ______________, the date that is 180 days after the

order for relief, to file proofs of claim.] 3

4.         WHO NEED NOT FILE A PROOF OF CLAIM

           You do not need to file a proof of claim on or before the Bar Date if you are:

           (a)      A person or entity that has already filed a proof of claim against the Debtor in this

                    case with the Clerk of the Bankruptcy Court for the Eastern District of New York

                    in a form substantially similar to Official Bankruptcy Form No. 410;

           (b)      A person or entity whose claim is listed on the Schedules of Assets and Liabilities

                    filed by the Debtor (collectively, the “Schedules”) [Docket Entry No.

                    ____________] if (i) the claim is not scheduled as “disputed,” “contingent,” or

                    “unliquidated” and (ii) you agree with the amount, nature and priority of the claim

                    as set forth in the Schedules [and (iii) you do not dispute that your claim is an

                    obligation only of the specific Debtor against which the claim is listed in the

                    Schedules];

           (c)      A holder of a claim that has already been allowed in this case by order of the

                    Court;

           (d)      A holder of a claim for which a different deadline for filing a proof of claim in

                    this case has already been fixed by this Court; or


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    See footnote 1, above.

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        (e)     A holder of a claim allowable under sections 503(b) and 507(a)(2) of the

                Bankruptcy Code as an expense of administration of the Debtor’s estate.

        If you are a holder of an equity interest in the Debtor, you need not file a proof of interest

with respect to the ownership of such equity interest at this time. But, if you assert a claim

against the Debtor, including a claim relating to your equity interest or the purchase or sale of

that interest you must file a proof of claim on or prior to the Bar Date in accordance with the

procedures set forth in this Notice.

        This Notice is being sent to many persons and entities that have had some relationship

with or have done business with the Debtor but may not have an unpaid claim against the Debtor.

The fact that you have received this Notice does not mean that you have a claim, or that the

Debtor or the Court believes that you have a claim against the Debtor.


5.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        If you have a claim arising out of the rejection of an executory contract or unexpired lease as

to which the order authorizing such rejection is dated on or before __________, the date of entry of

the Bar Order, you must file a proof of claim based on such rejection on or before the later of the

Bar Date or the date that is 30 days after the date of the order authorizing such rejection. Any

person or entity that has a claim arising from the rejection of an executory contract or unexpired

lease, as to which the order is dated after the date of entry of the Bar Order, you must file a proof of

claim with respect to such claim by the date fixed by the Court in the applicable order authorizing

rejection of such contract or lease.




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6.     CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE BAR
       DATE

       ANY HOLDER OF A CLAIM THAT IS NOT EXCEPTED FROM THE

REQUIREMENTS OF THIS ORDER, AS SET FORTH IN SECTION 4 ABOVE, AND THAT

FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPRIATE FORM, WILL BE

BARRED FROM ASSERTING ITS CLAIM AGAINST THE DEBTOR AND ITS CHAPTER

11 ESTATE, VOTING ON ANY PLAN OF REORGANIZATION FILED IN THIS CASE,

AND PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTOR’S CHAPTER 11 CASE

ON ACCOUNT OF THAT CLAIM.

7.     THE DEBTOR’S SCHEDULES AND ACCESS THERETO

       You may be listed as the holder of a claim against the Debtor in the Debtor’s Schedules.

If you agree with the nature, amount and status of your claim as listed in the Debtor’s Schedules,

[and if you do not dispute that your claim is only against the Debtor specified by the Debtors,]

and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you do not need

to file a proof of claim. Otherwise, you must file a proof of claim before the Bar Date in

accordance with the procedures set forth in this Notice.

       Copies of the Debtor’s Schedules are available for inspection on the Court’s Internet

Website at http://www.nyeb.uscourts.gov. A login and password to the Court’s Public Access to

Electronic Court Records (“PACER”) are required to access this information and can be

obtained through the PACER Service Center at http://www.pacer.psc.uscourts.gov. Copies of

the Debtor’s Schedules may also be examined between the hours of 9:00 a.m. and 4:30 p.m.,


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Monday through Friday at the Office of the Clerk of the Bankruptcy Court, [Conrad B.

Duberstein U.S. Bankruptcy Courthouse, 271 Cadman Plaza East, Brooklyn, NY 11201-1800]

[Alfonse M. D’Amato U.S. Courthouse, 290 Federal Plaza, Central Islip, NY 11722]. Copies of

the Debtor’s Schedules may also be obtained by written request to the Debtor’s counsel at the

address and telephone number set forth below:

              [address and telephone number]

       If you are unsure about any of these matters, including whether you should file a

proof of claim, you may wish to consult an attorney.

Dated: ____________, New York                       BY ORDER OF THE COURT

       ___________ __, 20__




COUNSEL FOR THE DEBTOR AND
DEBTOR IN POSSESSION
FIRM NAME
ADDRESS
PHONE NUMBER




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